 Case 1:08-cr-00039-SPM-AK        Document 94      Filed 07/27/09    Page 1 of 3




                                                                           Page 1 of 3


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 1:08-cr-39-SPM/AK

WILLIE DEWEY KEEN, JR., et al.

           Defendants.
____________________________/

                    ORDER DENYING MOTIONS IN LIMINE

      This cause comes before the Court on the Government’s Motions in

Limine on Entrapment Defense (docs. 73 and 77), as to Defendants Alton James

Land and John Lee Driggers. In these motions, the Government requests that

the Court prohibit the Defendants from raising or mentioning the defense of

entrapment, including during opening statement, until they have submitted

sufficient evidence before the Court tending to prove entrapment.

      In support of this motion, the Government relies primarily on two cases,

United States v. Ryan, 289 F.3d 1339 (11th Cir. 2002) and United States v.

Alston, 895 F.2d 1362 (11th Cir. 1990). In each of these cases, the Court of

Appeals denied the defendant’s challenge that the trial court abused its

discretion by refusing to instruct the jury on the entrapment defense. “Before an

entrapment defense may be presented to the jury, an evidentiary foundation for
 Case 1:08-cr-00039-SPM-AK          Document 94       Filed 07/27/09    Page 2 of 3




                                                                                Page 2 of 3


a valid entrapment defense must be present. In essence, this means that the trial

court must determine whether a juror could entertain a reasonable doubt about

whether the defendant was entrapped. . . . The determination of whether a

sufficient evidentiary foundation exists in the record which could support a jury’s

acceptance of an entrapment defense is properly a question for the trial judge[.]”

Alston, 895 F.2d at 1367-68 (internal quotations omitted).

       However, while the Court may properly refuse to instruct the jury at the

close of evidence regarding the defense of entrapment, where it finds that the

defendant has failed to produce sufficient evidence to raise a “reasonable doubt

about whether the defendant was entrapped[,]” Ryan, 289 F.3d at 1343, this

does not require that at all times prior to satisfying the evidentiary threshold at

which the defendant would be entitled to an entrapment instruction, the

defendant is foreclosed from even mentioning the issue of entrapment. Indeed,

even at the close of evidence, the defendant’s “burden is light because a

defendant is generally entitled to put a recognized defense to the jury where

sufficient evidence exists for a reasonable jury to find in her favor.” Id. At 1344.

To foreclose the Defendants from mentioning the issue of entrapment during the

opening statement would be to transform a light evidentiary burden for

entitlement to a jury instruction at the close of evidence into a significant

impairment in the presentation of one’s defense.
 Case 1:08-cr-00039-SPM-AK       Document 94      Filed 07/27/09      Page 3 of 3




                                                                           Page 3 of 3


      For the foregoing reasons, it is ORDERED AND ADJUDGED that the

Motions in Limine (docs. 73 and 77) are denied.

      DONE AND ORDERED this twenty-seventh day of July, 2009.




                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 Chief United States District Judge
